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 5   Attorney for Defendant
     HARJEET MANN
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 8
                  IN THE UNITED STATES DISTRICT COURT
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               FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                           Case No.: 1:08-CR-00212 OWW
13                        PLAINTIFF,
                                                         STIPULATION AND ORDER TO
14                                                       CONTINUE SENTENCING
                                                         HEARING
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     HARJEET MANN,
16
                                  DEFENDANT.
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE: OLIVER
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     W. WANGER AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
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            COMES NOW Defendant, HARJEET MANN by and through his attorney
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     of record, DAVID A. TORRES hereby requesting that the sentencing hearing currently set for
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     September 14, 2009 be continued to October 13, 2009 or a date convenient to court and counsel.
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            This is a mutual request between Assistant United States Attorney, Karen Escobar and is
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     joined by counsel.
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            Based upon the foregoing, I respectfully request that this matter be continued to
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     October 13, 2009.
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            The parties also agree that the delay resulting from the continuance shall be excluded in
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               Case 1:08-cr-00212-AWI Document 201 Filed 09/03/09 Page 2 of 2


 1   the interest of justice pursuant to 18 U.S.C. §3161 (h)(8)(A) and §3161 (h)(8)(B)(I).
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 3
 4   Dated: September 2, 2009                                    /s/ David A. Torres
                                                                 DAVID A. TORRES
 5                                                               Attorney for Defendant
                                                                 HARJEET MANN
 6
 7                                                               McGREGOR W. SCOTT
                                                                 United States Attorney
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     Dated: September 2, 2009                                    By /s/ Karen Escobar
 9                                                               KAREN ESCOBER
                                                                 Assistant U.S. Attorney
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25                                                                                    IT IS SO ORDERED.
26   Dated: September 2, 2009                               /s/ Oliver W. Wanger
     emm0d6                                            UNITED STATES DISTRICT JUDGE
27
28   Stipulation and Proposed Order to Continue Sentencing   2
